Phoenix Office         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ARIZONA
                 AMENDED CRIMINAL MINUTES (to reflect guilty as to Counts 1-4)

CR-12-01263-01-PHX-ROS                   DATE: 3/16/2018
Case Number

HON: ROSLYN O. SILVER

USA v.    Ahmed Alahmedalabdaloklah

DEFENDANT: X Present           Not Present    Released X Custody (Restraint 0)       Writ

Deputy Clerk: Christine Boucher                     Court Reporter: Laurie Adams

U.S.Atty: Joseph Kaster, David Pimsner,                Defense Atty: Gregory Bartolomei, Jami Johnson
Melissa Karlen, Bill Solomon                           Shishene Jing, Molly Karlin
                                                        X AFPD apptd retd
Arabic Interpreter: Sousan Elsayed
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PROCEEDINGS: / X / JURY TRIAL / _/ COURT TRIAL / / VOIR DIRE / / JURY SWORN
Trial Day # 25

8:30a.m. Jury continues deliberations.

12:12 p.m. Court reconvenes. Jury is not present. Discussion is held regarding jury question. 12:15 p.m. Jury
enters the courtroom. Question is discussed. 12:17 p.m. Court is in recess.

3:04 p.m. Court reconvenes. Jury is present. The Jury informs the Court it has reached a verdict. Defendant
is found guilty as to Counts 1-4. Defendant is found not guilty as to Counts 5-6. Jury exits the courtroom.
Probation is directed to prepare a presentence report. The Defendant informs the Court he will not be
participating in a presentence interview. Sentencing is set for June 5, 2018 at 1:30 p.m. in Courtroom 604. 3:09
p.m. Court is adjourned. Exhibits are returned to all parties.

                                                                                        Time in court: 10 min.
